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    EXHIBIT R
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AFL-CIO, et al.,

Plaintiffs,

v.                                                      Case No. 1:25-cv-00339-JDB

DEPARTMENT OF LABOR, et al.,

Defendants.



         DECLARATION OF ELISEO MEDINA, SEIU MEMBER AND FORMER
                         SECRETARY-TREASURER

I, Eliseo Medina declare as follows:


     1. I am a member of the Service Employees International Union (“SEIU”). I submit this

        declaration in support of Plaintiffs’ application for a temporary restraining order in this

        matter. The statements made in this declaration are based on my personal knowledge.


     2. I have been a member of SEIU since 1986. Prior to my retirement, I worked as a union

        organizer and elected officer of SEIU for 27 years, including Executive Vice President

        from 1996 to 2010, and Secretary-Treasurer of SEIU from 2010 to 2013. Over the years,

        I also participated in many actions organized by SEIU to advocate for increased access to

        healthcare.


     3. My participation in SEIU’s healthcare advocacy was informed by my work organizing

        and negotiating with workers on this issue. While organizing employees of Catholic

        Healthcare West, a big issue was access to affordable healthcare. When I worked at

        SEIU Local 102, we organized paramedics. A motivating issue for that workforce was to
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   make sure they had adequate healthcare. In SEIU’s historic home care organizing

   campaign, I negotiated with the Governor of California for a 60-cent basic contribution

   on behalf of home care providers. Additionally, I founded Mi Familia Vota, an

   organization that works alongside SEIU to educate, organize, and mobilize the Latino

   community around various policy priorities. Access to healthcare has been a big issue

   from the beginning as nearly everyone had problems with healthcare access and was

   either uninsured or underinsured. We viewed the Affordable Care Act as a victory for all

   the work we had been doing to expand access to quality, affordable healthcare.


4.​ I currently receive my primary healthcare coverage through Medicare, and have received

   care through Medicare for 11 years, since my retirement in 2013. Through Medicare, I

   have coverage for doctors’ visits and any hospitalization. For example, I recently had eye

   surgery and that was primarily covered by Medicare.


5.​ It is my understanding that Defendants have decided to give access to my personal

   information to the Department of Government Efficiency (“DOGE”) and/or individuals

   associated with DOGE.


6.​ I have not consented to, and I do not consent to, giving DOGE and/or individuals

   associated with the DOGE access to my personal information stored in HHS’ systems or

   records. It was my understanding that that was confidential and would not be available

   except for the provision of healthcare benefits.


7.​ The privacy of my personal information is very important to me. Because I am a

   Medicare beneficiary, HHS necessarily has personal information about me. I have trusted

   the government to maintain the privacy of my information and to only use my
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       information for lawful purposes. It was my understanding that my private information

       was going to be protected when I applied for Medicare. To feel comfortable having

       candid conversations with providers during medical appointments, I need to have

       confidence that my personal and health information will be kept confidential at every step

       in the process. I am extremely concerned that HHS may violate my privacy and disclose

       my personal information to third parties, such as the DOGE, without my consent and for

       undisclosed purposes. I am extremely concerned about what that means for me and for

       my family.


I declare under penalty of perjury that the foregoing is true and correct.


Executed on February 10, 2025, in Los Angeles, California.



                                                              /s/ Eliseo Medina______________
                                                              Eliseo Medina
